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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                            :
 UNITED STATES OF AMERICA                   :
                                            :      CASE NO. 21-CR-418
                 v.                         :
                                            :
 ERIC BOCHENE,                              :
                                            :
                Defendant.                  :


                                                NOTICE

       The United States files this notice for the purpose of advising the Court that the

government does not oppose the return of the defendant’s passport and modification of the

conditions of release.

       1.       During the status conference held on December 3, 2021, the defendant requested

the return of his passport so that he would be enabled to visit his daughter who resides in China.

The Court Ordered the government to provide notice whether the government opposed the return

of the defendant’s passport and modification of the defendant’s release conditions.

       2.       The government does not oppose the return of the defendant’s passport.

       3.       The government proposes the following modifications to the defendant’s

conditions of release:

                a.       The defendant shall provide notice to and receive the approval of Pretrial

Services of any travel outside the Northern District of New York for any purposes other than his

employment.




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                 b.     The defendant shall provide documents pertaining to travel outside the

United States, including images of airline tickets that indicate the dates of departure and return. It

shall be required that the defendant obtain airline tickets with a return date.

        4.       The government recommends that the Court also advise or re-advise the

defendant of the following:

                 a.     As a further condition of release, defendant shall not commit a Federal, State,

or local crime during the period of release. The commission of a Federal offense while on pretrial

release will result in an additional sentence of a term of imprisonment of not more than 10 years, if

the offense is a felony; or a term of imprisonment of not more than 1 year, if the offense is a

misdemeanor. This sentence shall be in addition to any other sentence.

                 b.     Any violation of the conditions of release may result in revocation of bail and

imprisonment pending trial.

                                                        Respectfully submitted,

                                                        MATTHEW GRAVES
                                                        United States Attorney
                                                        D.C. Bar No. 481052


                                                By:     /s/ Anita Eve
                                                        Anita Eve
                                                        Assistant United States Attorney




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                               CERTIFICATE OF SERVICE

       On this 10th day of December 2021, a copy of the foregoing was filed on the Electronic

Case Filing (ECF) System and also emailed to defendant Eric Bochene, mail@sansmemetics.net.



                                                   /s/ Anita Eve
                                                   Anita Eve
                                                   Assistant United States Attorney




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